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IN THE UNITED STATES DISTRICT COURT...
FOR THE NORTHERN DISTRICT OF TEXAS ~? ¥~* ¢!

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DALLAS DIVISION
DEPUTY CLE MS
UNITED STATES OF AMERICA NO.
v. B3=-Z3CRO274-1,
OLAKUNLE TANIMOWO (01)
PETER KIHWILI (02)
WILLIE MILLER (03)
INDICTMENT
The Grand Jury charges:
Count One

Conspiracy to Commit Theft of Government Money
(Violation of 18 U.S.C. § 371)

General Allegations
At all times relevant to this indictment:

1. Unemployment Insurance (UI) was a state-federal program that provided
monetary payments (benefits) to eligible lawful workers. UI benefits were intended to
provide temporary financial assistance to lawful workers who were unemployed through
no fault of their own. Although state workfare agencies administered their respective UI
programs, they did so in accordance with federal laws and regulations. Each state set its
own additional requirements for eligibility, benefit amounts, and length of time benefits
were paid. In Nevada, the Nevada Department of Employment, Training, and
Rehabilitation was charged with the management of unemployment benefits.

2, The President declared the ongoing coronavirus disease of 2019 (COVID-

19) pandemic of sufficient severity and magnitude to warrant an emergency declaration

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for all states, tribes, territories, and the District of Columbia, pursuant to Section 501(b)
of the Robert T. Stafford Disaster Relief and Emergency Assistance Act, 42 U.S.C.
§ 5121-5207. The President also signed into law the Coronavirus Aid, Relief, and
Economic Security (CARES) Act and the Families First Coronavirus Response Act. The
CARES Act created various programs designed to protect workers from the
consequences of COVID-19 related unemployment. Such programs established federal
funds, which were administered by the U.S. Department of Labor and were distributed
through state-managed UI benefit programs.
Overview of the Conspiracy

3. Beginning in or around July 2020, and continuing into July 2021 or later, in
the Dallas Division of the Northern District of Texas, and elsewhere, Olakunle
Tanimowo, Peter Kihwili, and Willie Miller, the defendants, and other individuals
known and unknown to the Grand Jury (co-conspirators) intentionally, knowingly, and
willfully conspired, confederated, and agreed with each other to steal, purloin, and
convert to their own use money of the United States, that is, UI benefits funded by the
CARES Act, to which they knew they were not entitled, having an aggregate value
exceeding $1,000, in violation of 18 U.S.C. § 641.

Purpose of the Conspiracy

 

4. It was the purpose of the conspiracy that the defendants and their co-
conspirators would defraud the Nevada Department of Employment Training and
Rehabilitation, and other state agencies charged with managing unemployment benefits,

by means of materially false and fraudulent pretenses, representations, and promises, in

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order to steal, purloin, and convert to their own use money of the United States—namely,
UI benefits funded by the CARES Act—to which they were not entitled.

Manner and Means of the Conspiracy

 

The manner and means by which the defendants and their co-conspirators sought
to accomplish the purpose of the conspiracy included, among others, the following:

De The defendants and their co-conspirators prepared and submitted
applications to the Nevada Department of Employment Training and Rehabilitation
claiming (a) that they were persons whom they were not, (b) that they were eligible to
receive unemployment benefits under the various programs designed to protect workers
from the consequences of COVID-19 related unemployment, and (c) that their current
mailing address was 13005 Audelia Road, Apartment 5255, Dallas, Texas 75243, in the
Northern District of Texas.

6. These applications to the Nevada Department of Employment Training and
Rehabilitation contained materially false and fraudulent pretenses, representations, and
promises. Named applicants had not applied for UI benefits—in fact, a number of these
individuals were gainfully employed when applications were submitted in their names—
and they neither received mail at, nor were otherwise associated with, the 13005 Audelia
Road address.

7. After the UI cards were sent to the 13005 Audelia Road address listed in
the applications, the defendants and their co-conspirators used the cards to steal, purloin,
and convert to their own use UI benefits, to which they knew they were not entitled. At

least 31 UI cards were sent to the 13005 Audelia Road address.

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Acts in Furtherance of the Conspiracy

In furtherance of the conspiracy, the defendants and their co-conspirators

 

committed the following acts, among others, in the Northern District of Texas and
elsewhere:

8. On or about August 5, 2020, Kihwili used a Bank of America debit card
issued in the name of M.Z. ending in 2605 to access and obtain $1,000.00.

9. On or about August 6, 2020, Miller used a Bank of America debit card
issued in the name of D.F. ending in 5676 to access and obtain $1,000.00.

10. On or about August 6, 2020, Tanimowo used a Bank of America debit card
issued in the name of D.B. ending in 8880 to access and obtain $900.00.

11. Onor about August 6, 2020, Tanimowo used a Bank of America debit card
issued in the name of D.B. ending in 8880 to access and obtain $100.00.

In violation of 18 U.S.C. § 371.

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Count Two
Theft of Government Money
(Violation of 18 U.S.C. § 641)

In or around August 2020, in the Dallas Division of the Northern District of Texas
and elsewhere, Olakunle Tanimowo, Peter Kihwili, and Willie Miller, the defendants,
and other individuals known and unknown to the Grand Jury, willfully and knowingly did
steal, purloin, and convert to their use UI benefits administered by the Nevada
Department of Employment Training and Rehabilitation but funded and administered by
the U.S. Department of Labor CARES Act funds, of a value exceeding $1,000, of the

goods and property of the United States.

In violation of 18 U.S.C. § 641.

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Counts Three through Six
Using an Unauthorized Access Device
(Violation of 18 U.S.C. § 1029(a)(2))

 

In or around August 2020, in the Dallas Division of the Northern District of Texas
and elsewhere, Olakunle Tanimowo, Peter Kihwili, and Willie Miller, the defendants,
knowingly and with intent to defraud, used one or more unauthorized access devices,
obtained $1,000 or more, and by such conduct, said use affecting interstate and foreign
commerce, in that Tanimowo, Kihwili, and Miller obtained UI benefits administered by
the Nevada Department of Employment Training and Rehabilitation but funded and

administered by the U.S. Department of Labor under the CARES Act, to wit:

 

 

Count Date Defendant Means of Identification Amount

 

5 August 5, 2020 | Kihwili Bank of America debit card issued in | $1,000.00
name of M.Z. ending in 2605

 

4 August 6, 2020 | Miller Bank of America debit card issued in | $1,000.00
name of D.F. ending in 5676

 

5 August 6, 2020 | Tanimowo | Bank of America debit card issued in | $900.00
name of D.B. ending in 8880

 

6 August 6, 2020 | Tanimowo | Bank of America debit card issued in | $100.00
name of D.B. ending in 8880

 

 

 

 

 

 

 

In violation of 18 U.S.C. § 1029(a)(2) and (c)(1)(A)().

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Forfeiture Notice
(18 U.S.C. §§ 981(a)(1)(C), 982(a)(2)(B), 1029(c)(1)(C) and 28 U.S.C. § 2461)

Upon conviction for the offenses alleged in Counts One and Two of this idictment,
Olakunle Tanimowo, Peter Kihwili, and Willie Miller, the defendants, shall forfeit to
the United States of America, pursuant to 18 U.S.C. § 981(a)(1)(c) as incorporated by 28
U.S.C. § 2461(c), any and all property, real or personal, constituting, or derived from
proceeds obtained, directly or indirectly, as a result of the respective offense.

Upon conviction for the offenses alleged in Counts Three through Six of this
indictment, the defendants shall forfeit to the United States any personal property used or
intended to be used to commit the offense pursuant to 18 U.S.C. § 1029(c)(1)(C); and any
property constituting, or derived from, proceeds obtained directly or indirectly, as the
result of the respective offense, pursuant to 18 U.S.C. § 982(a)(2)(B).

The above-referenced property subject to forfeiture includes, but is not limited to,
a “money judgment” in the amount of the U.S. currency constituting the gross proceeds
traceable to the offense.

Pursuant to 21 U.S.C. § 853(p), if any of the property described above, because of

any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

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S has been commingled with other property which cannot be divided without

difficulty,

the United States intends to seek forfeiture of any other property of the defendant up to

 

the value of the forfeitable property described above.

LEIGHA SIMONTON
UNITED STATES ATTORNEY

 

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A TRUE BILL:

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

OLAKUNLE TANIMOWO (01)
PETER KIHWILI (02)
WILLIE MILLER (03)

 

INDICTMENT

18 U.S.C. § 371
Conspiracy to Commit Theft of Government Money
(Count 1)

18 U.S.C. § 641

Theft of Government Money
(Count 2)

18 U.S.C. § 1029(a)(2)

Using an Unauthorized Access Device
(Counts 3 — 6)

18 U.S.C. §§ 98 1(a)(1)(C), 982(a)(2)(B), 1029(c)(1)(C) and 28 U.S.C. § 2461
Forfeiture Notice

6 Counts

A true bill rendered

  
   
   

DALLAS FOREPERSON
Filed in open court this 277 day of June, 2023.

Warrant to be Issued for all Def

 

 

UNHED S14 ATES MAGISTRATE JUDGE

No Criminal Matter Pending

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